                                      Case 12-00041        Doc 1    Filed 01/13/12     Page 1 of 6




                                      IN THE UNITED STATES BANKRUPTCY COURT OF MARYLAND
                                                       NORTHERN DIVISION


                         TOP ROOFING, INC                                       *      Chapter 11
                              DEBTOR
                                                                                *      Case Number 11-22814

                         *       *      *      *       *        *     *         *      *     *       *      *       *        *

                         THOMAS COX                                             *

                         And                                                    *

                         TOP ROOFING, INC.                                      *

                                 PLAINTIFF                                      *      Adver No.: ___________________

                         Vs.                                                    *

                         ROY KIRBY & SONS, INC                                  *

                         And                                                    *

                         ANASTASIA E. THOMAS                                    *

                                 DEFENDANT’S                                    *

                         *       *      *      *       *     *  *  *       *       *        *      *        *
                                                         COMPLAINT
                                 NOW COMES, Thomas Cox and Top Roofing, Inc., “Plaintiff’s”, by their attorneys KIM

                         PARKER, ESQUIRE     AND   THE LAW OFFICES        OF   KIM PARKER, P.A, sues the above-referenced

                         Defendant. In support thereof state:

                                                                       Venue

                                 1.     This adversary proceeding is one arising in the Plaintiff's case under Chapter 11

Law Offices Of           of title 11 now pending in this Court. This is an adversary proceeding pursuant to Bankruptcy Rule
  KIM
 PARKER,                 7001.
   P.A.
  2123 Maryland                  2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1334. This is a
      Avenue
  Baltimore, MD
       21218             core proceeding pursuant to 28 U.S.C. § 157(b)(2)(G)(O).
Tel: (410) 234-2621
Fax: (410) 234-2612
  kp@kimpaarkerlaw.com



                                                                           1
                                      Case 12-00041       Doc 1     Filed 01/13/12      Page 2 of 6




                                                            FACTUAL ALLEGATIONS

                                3.       Plaintiff Thomas Cox, hereinafter referred as “Cox”, is a resident of the State of

                         Maryland and resides in Baltimore City. At all times relevant herein, Mr. Cox is the owner of Top

                         Roofing, Inc.

                                4.       Plaintiff Top Roofing, Inc., is a Maryland Corporation in good standing, that

                         conducts business in the State of Maryland.

                                5.       Defendant Roy Kirby & Sons, Inc., is a Maryland Corporation in good standing,

                         that conducts business in the State of Maryland.

                                6.       Defendant Anastasia E. Thomas is an attorney licensed to practice in the State of

                         Maryland.

                                7.       On June 26, 2009, Plaintiff Top Roofing, Inc., entered into a sub-contract

                         agreement with Defendant Kirby.

                                8.       The contract provided in relevant part that:

                         “This SUBCONTRACT made the 16th day of June, 2009, by and between ROY KIRBY &
                         SONS, INC, and Top Roofing, 5406 Morello Road, Baltimore, Maryland 21214,
                         Attention:[emphasis added] Mr. Tom Cox.......Hereinafter “Subcontractor”


                                9.       On June 20, 2011, Plaintiff Top Roofing, Inc., filed for protection under Chapter 11

                         of the Bankruptcy Code. Defendant Kirby was listed as a creditor on the Debtor’s mailing matrix.

                                10.      On July 28, 2011, Defendant Roy Kirby & Sons, Inc., through counsel filed suit in

                         the Circuit Court of Maryland for Baltimore City against Thomas L Cox t/a Top Roofing.

                                11.      On August 18, 2011, Plaintiff Top Roofing, Inc., filed a Notice of Suggestion of
Law Offices Of
  KIM                    Bankruptcy. The Defendant Roy Kirby & Sons, Inc., filed an opposition to the Stay request,
 PARKER,
   P.A.                  indicating that Plaintiff Cox was not a party to the Bankruptcy.
  2123 Maryland
      Avenue                    12.      On October 11, 2011, the Circuit Court of Maryland for Baltimore City held a
  Baltimore, MD
       21218
Tel: (410) 234-2621      hearing on Plaintiff’s Motion to stay, at which time the Defendant Thomas continued with her
Fax: (410) 234-2612
  kp@kimpaarkerlaw.com



                                                                            2
                                      Case 12-00041        Doc 1    Filed 01/13/12    Page 3 of 6




                         current positions that the stay does not apply in the case. Although, Defendant’s Kirby and

                         Thomas were well aware that the alleged sub-contractor agreement was entered into with Top

                         Roofing, Inc.

                                13.      Thomas and Kirby were aware that they should have filed a Motion for Relief from

                         the Automatic Stay to proceed, notwithstanding they continued to move forward with the Circuit

                         Court proceeding.

                                14.      On October 11, 2011, The Circuit Court ruled that they would stay all action in the

                         case until such time as they receive further notice from United States Bankruptcy Court.

                                                   Count I- Willful Violation of the Automatic Stay
                                                                 (Thomas and Kirby)

                                15.      Plaintiff’s incorporates paragraphs one (1) through Fourteen (14) as if herein

                         restated for reference.

                                16.      In the Complaint filed in the Circuit Court by Defendant’s, it was alleged that

                         Thomas Cox owns and operates a sole proprietorship trading under the name of "Top Roofing”.

                                17.      The Complaint goes on to say that the trade name of Top Roofing has not been

                         registered with SDAT.

                                18.      On August 11, 2011, the Defendant’s caused the Complaint to be served on Top

                         Roofing, Inc., at its place of business located at 5406 Morello Road, Baltimore, Maryland 21206.

                                19.      Upon receipt of service, Plaintiff’s took immediate action to stay the case, thus

                         placing Defendant’s on notice that the proper forum for the alleged breach of contract action was

                         the United States Bankruptcy Court of Maryland.
Law Offices Of
  KIM                           20.      Instead of proceeding in that recommended fashion, Defendant’s objected to the
 PARKER,
   P.A.                  relief sought on the basis that Plaintiff Cox did not file the Bankruptcy and that Top Roofing was
  2123 Maryland
      Avenue             not being sued.
  Baltimore, MD
       21218
Tel: (410) 234-2621
Fax: (410) 234-2612
  kp@kimpaarkerlaw.com



                                                                           3
                                       Case 12-00041        Doc 1     Filed 01/13/12     Page 4 of 6




                                 21.       Defendant’s knew or had good reason to know that the statements proffered were

                         patently false.

                                 22.       Contrary to the inaccurate and misleading statements proffered by the Defendant’s

                         in their complaint, Top Roofing, Inc., was a Maryland Corporation in good standing registered

                         since January 15, 1998.

                                 23.       It is abundantly clear that Defendant’s failed to act with diligence in suing the

                         correct party and acted with deliberate indifference to circumvent the bankruptcy laws. It is

                         important to note that the Plaintiff Top Roofing, Inc., was listed on the debtor’s bankruptcy

                         schedules. Defendant’s received subsequent notice of the Bankruptcy even after the matter was

                         filed the Circuit Court.

                                 24.       11 U.S.C. § 362(a)(6) prohibits “any act to collect, assess or recover a claim against

                         the Debtor that arose before the commencement of the case.

                                 25.       During the pendency of the instant Chapter 11 bankruptcy case, neither of the

                         Defendants obtained termination, modification, or relief from the effects of the automatic stay as it

                         pertains to the Plaintiffs Top Roofing, Inc.

                                 26.       Despite the abundance of notice to all Defendant’s regarding the existence of the

                         Chapter 11 bankruptcy case and the subsequent automatic stay, the Defendant’s willfully violated

                         the automatic stay by continuing the Circuit Court matter against the Plaintiff Top Roofing, Inc.

                                 27.       Because of the Defendant’s willful violation of the automatic stay, the Plaintiff

                         suffered injuries consisting of, but not limited to, costs post-petition and other miscellaneous

Law Offices Of           expenses.
  KIM
 PARKER,                         28.       Because of the Defendants’ actions, the Plaintiff was forced to hire counsel to
   P.A.
  2123 Maryland          prosecute this claim. 11 U.S.C. § 362(h) provides that any individual injured by a Defendant’s
      Avenue
  Baltimore, MD
       21218             willful violation shall recover attorney fees, costs, and in certain circumstances, punitive damages.
Tel: (410) 234-2621
Fax: (410) 234-2612
  kp@kimpaarkerlaw.com



                                                                             4
                                       Case 12-00041        Doc 1   Filed 01/13/12     Page 5 of 6




                                 29.     All of the Defendants’ conduct rises to the level of willfulness.

                                 WHEREFORE, Plaintiff Top Roofing, Inc., respectfully request that this Honorable

                         Court enter judgment against the Defendant’s, Roy Kirby & Sons, Inc., and . and

                         Anastasia E. Thomas., for the following:

                         a) Punitive damages for the Defendants’ willful violation of the bankruptcy automatic stay as

                         afforded by 11 U.S.C. § 362;

                         b) Actual damages;

                         c) Costs and reasonable attorney fees and,

                         d) For such other relief that is just.

                                                            Count II- Declaratory Judgment
                                                                        (Kirby)

                                 30.     Plaintiff’s incorporates paragraphs one (1) through twenty-none (29) as if herein

                         restated for reference.

                                 31.     A cursory and rudimentary reading of the contract between the parties, the context

                         of the contract and the transactional documents reveal the real party to the contract was entered

                         into by Top Roofing, Inc., and not Thomas Cox. Thomas Cox is the sole shareholder of Top

                         Roofing and it provides his sole source of revenue.

                                 WHEREFORE, Plaintiff Thomas L. Cox, request the court to enter a declaratory

                         judgment that any alleged debt owed to Defendant Roy Kirby & Sons, Inc., is the responsibly of

                         Plaintiff Top Roofing, Inc., and that he is not personally responsible for the alleged disputed debt.

                                                             Count III- Injunctive Relief
Law Offices Of                                                         (Kirby)
  KIM                            32.     Plaintiff’s incorporates paragraphs one (1) through thirty-one (31) as if herein
 PARKER,
   P.A.                  restated for reference.
  2123 Maryland
      Avenue                     33.     The June 16, 2009, agreement was entered into by Plaintiff Top Roofing and
  Baltimore, MD
       21218
Tel: (410) 234-2621      Defendant Kirby.
Fax: (410) 234-2612
  kp@kimpaarkerlaw.com



                                                                            5
                                       Case 12-00041        Doc 1     Filed 01/13/12       Page 6 of 6




                                 34.     The Defendant Kirby should be enjoined from attempting to bring action against

                         the Plaintiff Cox for a debt that he is not legally liable for.

                                 35.     Moreover, since the Defendant Kirby has filed a Proof of Claim in the underlying

                         case, any alleged claim would be dealt with directly by the estate.

                                 WHEREFORE, Plaintiff Respectfully pray that this Court entered an order:

                                 a) Enjoining the Defendant from bringing a claim against Thomas L. Cox regarding the

                         alleged contract;

                                 b) Certify the same to the U.S. District Court.


                                                                                  Respectfully Submitted,
                                                                                  LAW OFFICES OF KIM PARKER, P.A.

                                                                                  /s/ Kim Parker
                                                                                  ____________________________
                                                                                  Kim Parker, Esq, Bar#23894
                                                                                  2123 Maryland Avenue
                                                                                  Baltimore, Maryland 21218
                                                                                  (410) 234-2621, Office
                                                                                  (410) 234-2612, Facsimile
                                                                                  kp@kimparkerlaw.com

                                                                                  COUNSEL TO PLAINTIFF’S



                                   STATEMENT REGARDING CORE AND NON-CORE PROCEEDINGS

                                 Pursuant to Local Bankruptcy Rule 7012-1 as Amended, Plaintiff’s consent’s to final entry

                         of Orders and judgments in the underlying matter.


Law Offices Of                                                                    /s/ Kim Parker
  KIM                                                                             __________________________
 PARKER,                                                                          Kim Parker, Esq.
   P.A.
  2123 Maryland
      Avenue
  Baltimore, MD
       21218
Tel: (410) 234-2621
Fax: (410) 234-2612
  kp@kimpaarkerlaw.com



                                                                              6
